     Case 2:22-cv-01312-APG-VCF Document 4 Filed 12/02/22 Page 1 of 1




 1                                UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                   ***
 4    CHRISTINA KENNEDY,                                        Case No. 2:22-cv-01312-APG-VCF
 5                           Plaintiff,                                       ORDER
 6          v.
 7    LOS ANGELES FIELD OFFICE OF THE FBI
      and ALBANY FIELD OFFICE OF THE FBI,
 8
                             Defendants.
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10          On August 15, 2022, the court received the plaintiff’s “petition.” ECF No. 1-1. Plaintiff

11   Christina Kennedy did not file an application to proceed in forma pauperis and did not pay the

12   filing fee. I thus ordered her to file an application to proceed in forma pauperis or pay the filing

13   fee by November 30, 2022. ECF No. 3. I advised her that if she failed to do so, I would dismiss

14   this action without prejudice. Id. Kennedy has not paid the filing fee or applied for leave to

15   proceed in forma pauperis as ordered. Id. Consequently, I dismiss this action.

16          I THEREFORE ORDER plaintiff Christina Kennedy’s petition (ECF No. 1-1) is

17   DISMISSED without prejudice. The clerk of court is instructed to close this case.

18          DATED this 2nd day of December, 2022.

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20                                                         ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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